      Case 3:14-cr-03537-BAS                         Document 843            Filed 09/20/16            PageID.3425                  Page 1 of 4

AO 245B (CASDRev. 08113) Judgment in a Criminal Case
                                                                                                                                    FILE
                                                                                                                                     sa 20 z0i6 ,        !

                                          UNITED STATES DISTRICT COURT                                                   ("
                                                                                                                              ;,..
                                                                                                                               i
                                                                                                                                    ~--~-~~
                                                                                                                                             i~
                                                 SOUTHERN DISTRICT OF CALIFORNIA                            ", 'M;I¢~.f"':H~~LN!~
                                                                                                    .. '-"'.,.." ..... ...            "'.-~~-   ------..--'''"~-


               UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.                                      (For Offenses Committed On or After November I, 1987)
                    KEYON RENTA GILL (7)
                                                                                 Case Number:         14CR3537-BAS
                                                                              DAVID ZUGMAN
                                                                              Defendant's Attorney
REGISTRAnON NO.                       44283298
IZJ Correction of Sentence for Clenal 'y1istake (Fed, R. Crim, P. 36)
IZI pleaded guilty to count(s)              ONE (1) OF THE INDICTMENT

      was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                         Count
Title & Section                          Nature of Offense                                                                              Numberls)
18USC 1962(d)                            CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                                          1
                                         THROUGH A PATTERN OF RACKETEERING ACTIVITY




    The defendant is sentenced as provided in pages 2 through                            4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
      Count(s)                                                          is          dismissed on the motion of the United States.

IZI   Assessment: $100.00 WAIVED.



IZI   No fine                       0 Forfeiture pursuant to order filed                                                           , inc1uded herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fuIly paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                              AUGUST 17.20]6
                                                                              Date of Imposition of Sentence




                                                                                                                                       14CR3537-BAS
      Case 3:14-cr-03537-BAS           Document 843         Filed 09/20/16      PageID.3426         Page 2 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 KEYON RENTA GILL (7)                                                    Judgment - Page 2 of 4
CASE NUMBER:               14CR3537 -BAS


                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 o      Sentence imposed pursuant to Title 8 USC Section 13 26(b).
 o      The court makes the following recommendations to the Bureau of Prisons:




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o    at
                  ----------------- A.M.                      on
                                                                   -------------------------------------
        o     as notified by the United States MarshaL

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on   __________________________ to _______________________________


 at
      ------------------------ , with a certified copy of this judgment.
                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR3537-BAS
             Case 3:14-cr-03537-BAS                  Document 843              Filed 09/20/16            PageID.3427              Page 3 of 4

      AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:                   KEYON RENT A GILL (7)                                                                         Judgment - Page 3 of 4
      CASE NUMBER:                 14CR3537-BAS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or ~fter September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, i( applicable.)
IEl         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IEl         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
[J          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check ((applicable.)
[]          The defendant shall participate in an approved program for domestic violence. (Check ((applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities:
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other acceptable
           reasons;
       6) the defendant shall notil} the probation officer at least ten days prior to any change in residence or employment:
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician:
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ora felony,
           unless granted pennission to do so by the probation officer:
       10) the defendant shall pennit a probation officer to visit him Of her at any time at home or elsewhere and shall pennit confiscation of any contraband
           observed in plain view oflhe probation officer:
       11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
           the court; and
       13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant" s criminal record or
           personal history or characteristics and shall permit the probation oUicer to make such notifications and to con finn the defendant's compliance
           with such notification requirement.



                                                                                                                                      14CR3537-BAS
    Case 3:14-cr-03537-BAS         Document 843         Filed 09/20/16     PageID.3428        Page 4 of 4

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:            KEYON RENT A GILL (7)                                                  Judgment - Page 4 of 4
CASE NUMBER:          14CR3537-BAS

                               SPECIAL CONDITIONS OF SUPERVISION

   1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   2. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

   3. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.

   4. Shall not knowingly associate with any known member, prospect, or associate ofthe Tycoons, or any
      other gang, or club with a history of criminal activity, unless given permission by the probation officer.

   5. Shall not knowingly loiter, or be present in locations knO\vn to be areas where gang members
      congregate, unless permission by the probation officer.

   6. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
      materials associated with a gang, unless given permission by the probation officer.

   7. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   8. Shall not knowingly associate with prostitutes or pimps and/or loiter in areas frequented by those
      engaged in prostitution.

   9. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.




                                                                                                 14CR3537-BAS
